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		OSCN Found Document:IN RE RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN RE RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION2020 OK 17Case Number: SCBD-4483Decided: 03/23/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 17, __ P.3d __

				

IN RE: Rules Creating and Controlling the Oklahoma Bar Association [Article IV, Sec. 1(b)]




ORDER



This matter comes on before this Court upon an Application to Amend 5 O.S. Ch. 1, App. 1, Art. IV, Sec.1 (b), Rules Creating and Controlling the Oklahoma Bar Association (hereinafter "Rules") filed on March 6, 2020. This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto, effective immediately.


DONE IN CONFERENCE this 23rd day of March, 2020.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Rowe, JJ., concur;

Kane, J., not voting.



&nbsp;

EXHIBIT A

Oklahoma Statutes Citationized
Title 5. Attorneys and the State Bar 
Chapter 1 - Attorneys and Counselors
Appendix 1 - Rules Creating and Controlling the Oklahoma Bar Association
Article Article IV
Section Art IV Sec 1 - Board of Governors
Cite as: O.S. §, __ __

The governing body of this Association shall consist of seventeen (17) active members of this Association, designated as the Board of Governors. The authority of the Board of Governors shall be subordinate to these Rules and direction of the House of Delegates. Said Board shall be selected as follows:
(a) Three (3) members elected At Large, by a majority vote of the House of Delegates or by a plurality of the voting members of the Association, in such manner as may be prescribed by the Bylaws, for a term of three (3) years, one of whom shall be elected annually.
(b) Nine (9) members, one from each Supreme Court Judicial District, as such districts existed prior to January 1, 2020, elected by a majority vote of the House of Delegates or by a plurality of the voting members of the Association in such manner as may be prescribed by the Bylaws, for a term of three (3) years; three (3) of such members shall be elected at the annual election next prior to the expiration of the term of office of the respective predecessor members.
(c) The President and Vice-President of the Association during their terms of office.
(d) The President-Elect of the Association.
(e) The immediate Past-President of the Association during the year immediately following his term as President.
(f) The Chairman of the Young Lawyers Division of the Association duly elected in accordance with the provisions of that organization's Bylaws. The Chairman of the YLD shall serve on the Board of Governors during his term of office as Chairman of the YLD.
(g) A quorum of the Board of Governors shall consist of nine (9) members. A majority of a quorum shall suffice to carry any action of the Board of Governors, unless otherwise provided by the Bylaws of the Association and except that recommendations for any amendment to these rules must receive the affirmative vote of a majority of all members of the Board of Governors.
(h) The President of the Association and the Executive Director of the Association shall act, respectively, as Chairman and Recording Secretary of the Board of Governors.





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
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		Level
		
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Art IV Sec 1, Board of GovernorsCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
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